
In re: Donald G. Jones and Gloria Jones, individually and as the Natural Tutors of their minor son, Donald G. Jones, Jr., applying for supervisory writs of cer-tiorari, prohibition and mandamus.
Writ granted. (See order).
The petition of the relator m the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Wallace C. LeBrun Judge of the 24th Judicial District, Court for the Parish of Jefferson, to transmit to the Supreme Court of Louisiana, on or before the 9th day of April, 1976, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on the 21st day of June, 1976, at 10 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
